                  Case: 3:13-cr-00134-JGC Doc #: 505 Filed: 06/10/15 1 of 15. PageID #: 4102
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              6KHHW



                                          81,7('67$7(6',675,&7&2857
                                                         NORTHERN DISTRICT OF OHIO
             81,7('67$7(62)$0(5,&$                                              JUDGMENT IN A CRIMINAL CASE
                                  v.
                       Anthony W. Wymer                                            &DVH1XPEHU 3:13-cr-00134-14
                                                                                   8601XPEHU 60083-060

                                                                                    Mark C. Geudtner
                                                                                   'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                      one of the second superseding indictment
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
  ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
  DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                   Nature of Offense                                                                        Offense Ended                           Count

 18:371                            Conspiracy                                                                                 02/07/2013                            1ss




   See additional count(s) on page 2


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 8           RIWKLVMXGJPHQW The sentence is impRVHGSXUVXDQWWo the
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
G &RXQW V                                                  G LV   G DUHdismiVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDmeUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG If RUGHUHGWRSD\UHVWLWXWLRQ
                                                                                                                            
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                        6/8/2015
                                                                         'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                       s/James G. Carr
                                                                         Signature of Judge


                                                                        James G. Carr, Sr. U.S. District Judge
                                                                         1DPHRI-XGJH7LWOHRI-XGJH


                                                                        6/10/15
                                                                         'DWH
                 Case: 3:13-cr-00134-JGC Doc #: 505 Filed: 06/10/15 2 of 15. PageID #: 4103
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
             6KHHW²,PSULVRQPHQW

                                                                                                                     Judgment Page: 2 of 8
  '()(1'$17 Anthony W. Wymer
  &$6(180%(5 3:13-cr-00134-14


                                                                 IMPRISONMENT

           7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
  WRWDOWHUPRI
   48 months.




      ✔
      G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
  The Court recommends that the defendant be placed at a facility that can address his physical and mental diagnosis and
  needs for treatment.


      ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
      G

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
          G DW                                          G DP      G SP        RQ

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

      G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
          G EHIRUH               RQ

          G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
          G DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                       RETURN
  ,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




          'HIHQGDQWGHOLYHUHGRQ                                                              WR

  D                                                      ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                         81,7('67$7(60$56+$/


                                                                               %\
                                                                                                      '(387<81,7('67$7(60$56+$/
                       Case: 3:13-cr-00134-JGC Doc #: 505 Filed: 06/10/15 3 of 15. PageID #: 4104
   AO 245B        (Rev. 09/11) Judgment in a Criminal Case
                  6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                                                     Judgment Page: 3 of 8
                                                                                                               
    '()(1'$17 Anthony W. Wymer
    &$6(180%(5 3:13-cr-00134-14
                                                              SUPERVISED RELEASE
    8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI
    three years with standard and special conditions.


            7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFW WRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVH
                                                                                                                                          IURPWKH
    FXVWRG\RIWKH%XUHDXRI3ULVRQV
    7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
    7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
    VXEVWDQFHThe defendant shall submitRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
    WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
    ✔ 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
    G
           IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
    ✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
    G
    ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
    G

    G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
      DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
           ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

    G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
            ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
    6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
             7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDW haYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQal FRQGLWLRQV
                                                                                                                                          
    RQWKHDWWDFKHGSDJH

                                             STANDARD CONDITIONS OF SUPERVISION
            WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUW
             RUWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
            WKHGHIHQGDQWVKDOO comply with the Northern District of Ohio Offender Employment Policy which may include participation in
             training, education, counseling and/or daily job search as directed by the pretrial services and probation officer. If not in compliance
             with the condition of supervision requiring full-time employment at a lawful occupation, the defendant may be directed to perform
             up to 20 hours of community service per week until employed, as approved or directed by the pretrial services and probation officer.
            WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
            WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
             FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
            WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
            WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
             IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
      ) tKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
          FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
            WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW \WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
            WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPeQWWRDFWDVDQ iQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRXtWKH
              SHUPLVVLRQRIWKHFRXUWDQG

           DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
             UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPiWWK HSUREDWLRQRIILFHUWRPaNHVXFKQRtLILFDWLRQVDQGWRFRQILUP WKH
             GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
"Upon finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision. These conditions have been read to me. I fully understand the conditions and have been provided a copy
of them."
Dated:_____________________                   ________________________________________                   ________________________________________
                                               Defendant                                                 U.S. Probation Officer
                Case: 3:13-cr-00134-JGC Doc #: 505 Filed: 06/10/15 4 of 15. PageID #: 4105
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                                                                                                      Judgment Page: 4 of 8
 '()(1'$17 Anthony W. Wymer
 &$6(180%(5 3:13-cr-00134-14

                                         SPECIAL CONDITIONS OF SUPERVISION
  General Educational Development (GED)
  The defendant shall enter an adult program and work toward obtaining a General Educational
  Development (GED) diploma at the discretion of the U.S. Pretrial Services & Probation Officer.

  Mental Health Treatment
  The defendant shall undergo a mental health evaluation and/or participate in a mental health treatment program as
  directed by the supervising officer.


  Financial Disclosure
  The defendant shall provide the U.S. Pretrial Services & Probation Officer with access to any
  requested financial information.

  Financial Restrictions
  The defendant shall not incur new credit charges or open additional lines of credit without the
  approval of the U.S. Pretrial Services & Probation Officer.


  Financial Windfall Condition
  The defendant shall apply all monies received from income tax refunds, lottery winnings,
  judgments, and/or any other anticipated or unexpected financial gains to the outstanding courtordered
  financial obligation.

  Forfeiture
  The defendant shall forfeit the defendant's interest in the following property, including, but not
  limited to, a sum of money equal to the gross proceeds of Count 1 to the United States.


  Reentry Court
  The Court recommends that the defendant be considered for the reentry court program.
                    Case: 3:13-cr-00134-JGC Doc #: 505 Filed: 06/10/15 5 of 15. PageID #: 4106
AO 245B         (Rev. 09/11) Judgment in a Criminal Case
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                                                                                                                              Judgment Page: 5 of 8
 '()(1'$17 Anthony W. Wymer
 &$6(180%(5 3:13-cr-00134-14
                                                     CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                          Assessment                                               Fine                                        Restitution
 TOTALS               $ 100.00                                                  $ 0.00                                   $ 1,190,027.71


 G7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO$QAmended Judgement in a Criminal Case (AO 245C) ZLOOEHHQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
      WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPsPXVWEHSDLG
      EHIRUHWKH8QLWHG6WDWHVLVSDLG

 Name of Payee                                                                 Total Loss*              Restitution Ordered             Priority or Percentage

  See Attached list                                                                   $1,190,027.71            $1,190,027.71



  Distribution of restitution shall be paid to individual victims first,
  then insurance companies.




TOTALS                                                                                $1,190,027.71            $1,190,027.71
 ✔     See page 5A for additional criminal monetary conditions.
G      5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G      7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
       ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
       WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G      7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

       G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH                  G ILQH        G UHVWLWXWLRQ
       G WKHLQWHUHVWUHTXLUHPHQWIRUWKH              G ILQH             G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRr RIIHQVHVFRPPLWWHGRQRUDIWHU
                                                                                                                 
6HSWHPEHUEXWEHIRUH$SULO
                Case: 3:13-cr-00134-JGC Doc #: 505 Filed: 06/10/15 6 of 15. PageID #: 4107
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                                                                                                    Judgment Page: 6 of 8
'()(1'$17 Anthony W. Wymer
&$6(180%(5 3:13-cr-00134-14

                     ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES
  Restitution (Determined from 11/3/2012-1/30/2013)
  The defendant shall pay restitution jointly and severally with (Case No. 3:13cr134) Michael G. Wymer (1), Robert W. Debolt
  Jr. (2), Michael A. Deutsch (3), Shawn M. Wymer (4), Gary J. Wymer (5), Terrance L. Wymer (6), Gregory L. Rose (7),
  Gary G. Wymer Jr. (8), Terry L. Wymer (9), Earl R. Beebe (10), John A. Debolt (11), Joe I. McKinney (12), Diana L.
  Vannes (13) in the amount of $1,190,027.71 through the Clerk of the U.S. District Court. Restitution is due and payable
  immediately.

  The defendant shall pay 25% of his gross income per month, through the Federal Bureau of
  Prisons Inmate Financial Responsibility Program. If a restitution balance remains upon release
  from imprisonment, payment is to commence no later than 60 days following release from
  imprisonment to a term of supervised release (in equal monthly payments, or at least a minimum
  of 10% of his gross monthly income during the term of supervised release and thereafter as
  prescribed by law.

  Notwithstanding establishment of a payment schedule, nothing shall prohibit the United States
  from executing or levying upon property of the defendant discovered before and after the date of
  this Judgment.

  The Court waives the interest requirement in this case.
                 Case: 3:13-cr-00134-JGC Doc #: 505 Filed: 06/10/15 7 of 15. PageID #: 4108
AO 245B      (Rev. 09/11) Judgment in a Criminal Case
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                                                                                                                              Judgment Page: 7 of 8
'()(1'$17 Anthony W. Wymer
&$6(180%(5 3:13-cr-00134-14

                                                        SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

A    G /XPSVXPSD\PHQWRI                                   GXHLPPHGLDWHO\EDODQFHGXH

          G      QRWODWHUWKDQ                                       RU
          G      LQDFFRUGDQFH          G &        G '        G       (RU     G )EHORZRU
B    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                      G &       G 'RU       G )EHORZ RU
C    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

D    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                          (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
          WHUPRIVXSHUYLVLRQRU

E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                    (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
          LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
     G
           [ ] A special assessment of $100.00
           ✔                             ___                                                     one ss.
                                                      is due in full immediately as to count(s) ___________________________________.
            Mailed payments are to be sent and made payable to the Clerk, U.S. District Court, 801 West Superior Ave., Cleveland, OH 44113-1830.

           [ ] After the defendant is released from imprisonment, and within 30 days of the commencement of the term of supervised release, the probation
           officer shall recommend a revised payment schedule to the Court to satisfy any unpaid balance of the restitution. The Court will enter an order
           establishing a schedule of payments.


8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMudgmeQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
LPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHpW WKRVH SD\PHQWVP DGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPaWH)LQDQFLDO
5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



✔ -RLQWDQG6HYHUDO
G
     'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
     DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH
      3:13CR134 Michael G. Wymer (1), Robert W. Debolt Jr. (2), Michael A. Deutsch (3), Shawn M. Wymer (4), Gary J.
      Wymer (5), Terrance L. Wymer (6), Gregory L. Rose (7), Gary G. Wymer Jr. (8), Terry L. Wymer (9), Earl R. Beebe
      (10), John A. Debolt (11), Joe I. McKinney (12), Diana L. Vannes (13)

G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
✔ 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
G
      The defendant shall forfeit the defendant's interest in the following property, including, but not
      limited to, a sum of money equal to the gross proceeds of Count 1 to the United States.

3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
  ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
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                                                                 Judgment Page: 8 of 8




                        7KLVSDJHLQWHQWLRQDOO\OHIWEODQN
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Case: 3:13-cr-00134-JGC Doc #: 505 Filed: 06/10/15 13 of 15. PageID #: 4114
Case: 3:13-cr-00134-JGC Doc #: 505 Filed: 06/10/15 14 of 15. PageID #: 4115
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